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UNITED sTATEs DISTRICT coURT §§ =»m
wEsTERN DISTRICT OF TENNESSEE ¢Q?/ `*~5%1
EASTERN DIvIsIoN `» ‘ '

J'UDGMENT IN A CIVIL CASE

 

MICHAEL COLLIER,
Plaintiff,
VS. NO. 1:04-CV-1335-T/AN

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socIAL sEcURITY,

Defendant(s).

[X] DECISION BY THE COURT. This action came to consideration
before the Court; the issues having been considered and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that in compliance with the Order
entered in the above styled matter on June 8, 2005, the decision
of the commissioner is hereby AFFIRMED and this matter is hereby
DISMISSED.

APPROVED :

@Wme-M

JAMEséP. TODD
UNITE sTATEs DIsTRIcT JUDGE

 

ROBERT IE. DI TROLIO, CLERK

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BY: \~-" "/

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Th|s document entered on the docket sh In compliance
wlih Ru|e 58 and.'or_79 (a) FF|CP on 0 0 5 @

 

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This notice confirms a copy of the document docketed as number 9 in
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Honorable J ames Todd
US DISTRICT COURT

